           Case 1:15-vv-00059-UNJ Document 39 Filed 05/06/16 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-59V
                                    Filed: February 19, 2016
                                         UNPUBLISHED

****************************
THOMAS STEFFENS, as Personal,            *
Representative of the Estate of          *
WILLIAM K. WOLL,                         *
                                         *
                     Petitioner,         *      Joint Stipulation on Damages;
                                         *      Influenza;
                                         *      Guillain-Barre Syndrome (“GBS”);
SECRETARY OF HEALTH                      *      Death;
AND HUMAN SERVICES,                      *      Special Processing Unit (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Danielle Strait, Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

       On January 21, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the
“Vaccine Act”]. Petitioner alleges that Mr. Woll suffered Guillain-Barre Syndrome (GBS)
following his October 31, 2012 influenza vaccination and that his death from cardiac
arrest was a further sequela of his vaccine-related injury. Petition at 1; Stipulation, filed
2/19/2016, ¶ 4. Petitioner further alleges that the vaccination was administered within
the United States and that there has been no prior award or settlement of a civil action
on behalf of Mr. Woll as a result of his alleged condition or his death. Petition at 2;
Stipulation¶¶ 3, 5. “Respondent denies that the flu vaccine caused Mr. Woll’s alleged
GBS, any other injury, or his death ” Stipulation, ¶ 6.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:15-vv-00059-UNJ Document 39 Filed 05/06/16 Page 2 of 7



       Nevertheless, on February 19, 2016, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulated that petitioner shall receive the following compensation:

        A lump sum of $328,000.00 in the form of a check payable to petitioner as
        legal representative of the Estate of William K. Woll. Stipulation, ¶ 8. This
        amount represents compensation for all items of damages that would be
        available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
Case 1:15-vv-00059-UNJ Document 39 Filed 05/06/16 Page 3 of 7
Case 1:15-vv-00059-UNJ Document 39 Filed 05/06/16 Page 4 of 7
Case 1:15-vv-00059-UNJ Document 39 Filed 05/06/16 Page 5 of 7
Case 1:15-vv-00059-UNJ Document 39 Filed 05/06/16 Page 6 of 7
Case 1:15-vv-00059-UNJ Document 39 Filed 05/06/16 Page 7 of 7
